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15
                                      UNITED STATES DISTRICT COURT
16
                                   NORTHERN DISTRICT OF CALIFORNIA
17
                                           SAN FRANCISCO DIVISION
18
     In re: CATHODE RAY TUBE (CRT) ANTITRUST                    Case No. 07-cv-05944 (SC)
19   LITIGATION
                                                                MDL No. 1917
20   This Document Relates To:                                  SHARP’S ADMINISTRATIVE
21                                                              MOTION TO FILE DOCUMENTS
     Sharp Electronics Corp., et al. v. Hitachi Ltd., et al.,   RELATED TO SHARP’S MOTION
     Case No. C 13-1173 (SC)                                    TO COMPEL UNDER SEAL
22
                                                                PURSUANT TO CIVIL LOCAL
23                                                              RULES 7-11 AND 79-5(b)

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         SHARP’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL (CIVIL LOCAL RULES 7-11 AND 79-5(b))
                           Case No. 07-cv-5944, MDL No. 1917; Case No. 13-cv-1173
              Case 4:07-cv-05944-JST Document 2243 Filed 12/03/13 Page 2 of 3




 1                  Pursuant to Federal Rule of Civil Procedure 5.2(e) and Civil Local Rules 7-11 and

 2   79-5(b), Plaintiffs Sharp Electronics Corporation and Sharp Electronics Manufacturing Company of

 3   America, Inc. (collectively, “Sharp”), by and through their counsel, respectfully submit this

 4   Administrative Motion for a Sealing Order permitting Sharp to file under seal Exhibits C, D, E, and K to

 5   the Declaration of Craig Benson in Support of Sharp’s Motion to Compel, and portions of Sharp’s

 6   Motion to Compel.

 7                  This motion is supported by the Declaration of Craig A. Benson in Support of Sharp’s

 8   Administrative Motion to File Documents Under Seal Pursuant to Civil Local Rules 7-11 and 79-5(b),

 9   dated November 14, 2013. See Civ. L. R. 79(d)(1)(A) (stating that an administrative motion to seal must

10   be accompanied by a declaration “establishing that the document sought to be filed under seal . . . [is]

11   sealable.”).

12                  Civil Local Rule 79-5(b) states that a document may only be filed under seal “pursuant to

13   a court order that authorizes the sealing of the particular document . . .” and requires the party seeking to

14   file a document under seal to show that the document contains information that “is privileged,

15   protectable as a trade secret or otherwise entitled to protection under the law.” Civ. L. R. 79-5(b). This

16   Court’s General Order No. 62 sets forth procedures applicable to the filing of sealed documents in civil

17   cases.

18                  Sharp seeks to file under seal Exhibits C, D, E and K to the Declaration of Craig Benson

19   in Support of Sharp’s Motion to Compel, and portions of Sharp’s Motion to Compel, because there is a

20   “compelling reason” for doing so for this document. Kamakana v. City & Cnty. Of Honolulu, 447 F.3d

21   1172, 1180 (9th Cir. 2006). A party meets the “compelling reasons” standard by presenting “articulable

22   facts” identifying the interests favoring filing a document under seal. Id. at 1181. Sharp meets this

23   standard because Exhibits C, D, E and K and portions of Sharp’s Motion to Compel contain

24   confidential, non-public information designated Confidential by the producing parties in accordance

25   with the Protective Order applicable to this action.

26                  Pursuant to Civil Local Rule 79-5(d), copies of Exhibits C, D, E and K to the Declaration
27   of Craig Benson in Support of Sharp’s Motion to Compel and portions of Sharp’s Motion to Compel

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          SHARP’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL (CIVIL LOCAL RULES 7-11 AND 79-5(b))
                            Case No. 07-cv-5944, MDL No. 1917; Case No. 13-cv-1173
             Case 4:07-cv-05944-JST Document 2243 Filed 12/03/13 Page 3 of 3




 1   will be lodged with the Court for in camera review, served on all parties, and will be e-filed with the

 2   Court pending the Court’s granting of a Motion to Seal. Sharp is prepared to e-file as part of the public

 3   record in this case unredacted copies of these Exhibits and the Motion to Compel.

 4                 For these reasons, the standard for filing under seal is met in the present case and Sharp

 5   respectfully submits this motion pursuant to Civil Local Rule 7-11 and 79-5(b).

 6

 7   Dated: December 3, 2013               Respectfully submitted,

 8                                         By:     /s/ Craig A. Benson

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21                                               Electronics Manufacturing Company of America, Inc.

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         SHARP’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL (CIVIL LOCAL RULES 7-11 AND 79-5(b))
                           Case No. 07-cv-5944, MDL No. 1917; Case No. 13-cv-1173
